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                        EXHIBIT A
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 In re:                                                           Chapter 11

 ATHENEX INC., et al.,
                              1
                                                                  Case No. 23-90295 (MI)

                      Post-Effective-Date Debtors.                (Jointly Administered)

             STIPULATION BY AND BETWEEN THE LIQUIDATING TRUSTEE
             AND JOHN MCKENZIE REGARDING CLAIM NOS. 10236 & 10238

          This stipulation (the “Agreement”) is made and entered into as of August 15, 2024, by and

between Emerald Capital Advisors, in its capacity as liquidating trustee (the “Liquidating

Trustee”) of the Liquidating Trust of Athenex, Inc., et al. (the “Liquidating Trust”), established

by the Debtors’ Combined Disclosure Statement and Plan of Liquidation of Athenex, Inc. and Its

Affiliated Debtors Under Chapter 11 of the Bankruptcy Code [Docket No. 501] (the “Combined
                                         2
Plan and Disclosure Statement”), confirmed by an order of the United States Bankruptcy Court

for the Southern District of Texas (the “Bankruptcy Court”) entered on September 12, 2023

[Docket No. 595], in the above-captioned chapter 11 bankruptcy proceedings of the above-

captioned post-effective date debtors and debtors-in-possession (the “Debtors”), and John

McKenzie, in his individual capacity and as court-appointed lead plaintiff on behalf of the

proposed class in the Securities Litigation (defined below) (“McKenzie” and, together with the

Liquidating Trustee on behalf of the Liquidating Trust, the “Parties”). The Parties hereby stipulate

and agree as follows:




1
    A complete list of each of the Post-Effective-Date Debtors may be obtained on the website of the Debtors’ claims
    and noticing agent at https://dm.epiq11.com/athenex
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Combined Plan
    and Disclosure Statement.


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                                           RECITALS

       WHEREAS, on January 25, 2022, the Defendants filed a motion to dismiss the Securities

Litigation in the District Court for failure to state a claim (the “Motion to Dismiss”); and

       WHEREAS, on May 14, 2023 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.

(the “Bankruptcy Code”) in the Bankruptcy Court; and

       WHEREAS, on May 30, 2023, upon the Debtors’ filing of the cases herein, the District

Court entered an order staying the entire Securities Litigation, modified by an order dated

September 6, 2023, that allowed the Securities Litigation to proceed as to the Non-Debtor

Defendants; and

       WHEREAS, on September 5, 2023, the Debtors filed the Notice of Filing Amended Plan

Supplement for the Combined Disclosure Statement and Plan of Liquidation of Athenex, Inc. and

Its Affiliated Debtors Under Chapter 11 of the Bankruptcy Code [Docket No. 573], to which the

Liquidating Trust Agreement was attached as Exhibit C; and

       WHEREAS, on September 12, 2023, the Bankruptcy Court entered the Order Granting

Final Approval of Disclosure Statement and Confirming Plan of Liquidation of Athenex, Inc. and

Its Affiliated Debtors Under Chapter 11 of the Bankruptcy Code [Docket No. 595]

(the “Confirmation Order”), confirming the Plan; and

       WHEREAS, pursuant to the Combined Plan and Disclosure Statement, the Confirmation

Order, and the Liquidating Trust Agreement, the Liquidating Trustee has exclusive authority to

settle or compromise any disputed general unsecured claim and to pursue, settle, or abandon causes

of action belonging to the Liquidating Trust. See Plan §§ XII(C), XIV(F–G); Confirmation Order

¶¶ 5, 12–13; Liquidating Trust Agreement § 3.1; and



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        WHEREAS, prior to the Petition Date, McKenzie was appointed lead plaintiff in the

securities class action pending before the United States District Court for the Western District of

New York (the “District Court”) styled, In re Athenex, Inc. Securities Litigation, Case No. 21-cv-

00337 (the “Securities Litigation”) against Athenex, Inc. (“Athenex”) and certain of its former

officers— Mr. Rudolf Kwan, Mr. Johnson Y.N. Lau, and Mr. Timothy Cook (the “Non-Debtor

Defendants” and, collectively with Athenex, the “Defendants”) alleging violations of Sections

10(b) and/or 20(a) of the Securities Exchange Act of 1934 and Rule 10b-5 promulgated thereunder;

and

        WHEREAS, on July 18, 2023, McKenzie filed a proof of claim in his individual capacity

against Debtor Athenex, Inc. for an unliquidated amount (Claim No. 10238) (the “Individual

Claim”) based on the allegations set forth in the Securities Litigation; and

        WHEREAS, on July 18, 2023, McKenzie, as the court-appointed lead plaintiff, filed a

proof of claim against Debtor Athenex, Inc. (Claim No. 10236) for himself and on behalf of the

proposed class based on the allegations set forth in the Securities Litigation (the “Class Claim”

and together with the Individual Claim, the “McKenzie Claims”); and

        WHEREAS, on September 29, 2023, a Report & Recommendation was submitted by

Magistrate Judge H. Kenneth Schroeder, Jr. (the “Magistrate’s Report”) in the Securities

Litigation recommending that Defendants’ Motion to Dismiss as to the Non-Debtor Defendants

be granted with prejudice; and

        WHEREAS, on May 28, 2024, the District Court entered an order granting the Motion to

Dismiss for the reasons stated in the Magistrate’s Report (the “Decision”) as to the Non-Debtor

Defendants, reserving its decision on the portions of the Motion to Dismiss against Athenex,

Inc. until the stay is lifted; and



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       WHEREAS, the Liquidating Trustee has since interposed an informal objection

(the “Informal Claim Objection”) to the McKenzie Claims based on the findings of fact and law

contained in the Decision; and

       WHEREAS, the Parties have engaged in good-faith, arm’s-length negotiations to resolve

the Informal Claim Objection, and the Parties desire to memorialize their agreement with respect

thereto.

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and among

the Parties, through their undersigned counsel, as follows:

       1.      The above recitals are incorporated into this Agreement for all purposes.

       2.      The Parties hereby stipulate that pursuant to 11 U.S.C. § 510(b), the McKenzie

Claims shall be subordinated to the Claims of holders of all Allowed Unsecured Claims, as defined

under the Combined Plan and Disclosure Statement.

       3.      For the avoidance of doubt, and notwithstanding paragraph 2 of this Agreement,

McKenzie, for himself and as lead plaintiff on behalf of the proposed class in the Securities

Litigation, has the right to recover against Athenex, Inc., limited to and solely to the extent of

available insurance.

       4.      The Liquidating Trustee reserves all rights to object to the allowance of the

McKenzie Claims on any other basis.

       5.      The Parties agree that this Agreement is a compromise and settlement and shall not

be construed as an admission of liability, wrongdoing, or responsibility or the absence thereof on

the part of any Party.

       6.      This Agreement constitutes the entire agreement between the Parties with respect

to the limited subject matter hereof, and supersedes any prior discussions, agreements, and



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understandings, both written and oral, among the Parties with respect thereto.

        7.      This Agreement may be executed by the Parties in separate counterparts, each of

which shall be deemed an original, but all of which, when taken together, shall constitute one and

the same instrument. This Agreement may be executed by exchange of facsimile or electronic

signatures (in PDF or comparable format), which shall be deemed original signatures.

        8.      The Claims Agent is authorized and directed to update the Claims Register

maintained in the chapter 11 cases to reflect the terms of this Agreement.

        9.      The terms and conditions of this Agreement shall be immediately effective and

enforceable upon entry by the Bankruptcy Court.

        10.     The Parties intend for this Agreement to be binding upon their successors, agents,

assigns, including bankruptcy trustees and estate representatives, and any parent, subsidiary, or

affiliated entity of any of the Parties.

        11.     The undersigned hereby represent and warrant that they have full authority to

execute this Agreement on behalf of the respective Parties and that the respective Parties have full

knowledge of, and have consented to, this Agreement.

        12.     The Parties agree that each of them has had a full opportunity to participate in the

drafting of this Agreement and any claimed ambiguity shall be construed neither for or against

either of the Parties.

        13.     This Agreement shall not be modified, altered, amended, or supplemented except

by a writing executed by the Parties or their authorized representatives.

        14.     The Bankruptcy Court shall have exclusive jurisdiction with respect to all disputes

or controversies arising from or related to this Agreement.




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STIPULATED AND AGREED:


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                                          Liquidating Trust of Athenex, Inc., et al.




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